IN THE SUPREME COURT OF TEXAS








IN THE SUPREME COURT OF TEXAS
&nbsp;
════════════
No. 06-0518
════════════
&nbsp;
Rory Lewis, M.D., 
Petitioner,
&nbsp;
v.
&nbsp;
Dewayne Funderburk, as Next 
Friend of 
Whitney Funderburk, 
Respondent
&nbsp;
════════════════════════════════════════════════════
On Petition for Review from the
Court of Appeals for the Tenth District of 
Texas
════════════════════════════════════════════════════
&nbsp;
&nbsp;
Argued November 
15, 2007
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Justice Brister delivered the opinion of the Court, in 
which Chief Justice Jefferson, Justice 
Hecht, Justice Wainwright, Justice Medina, Justice Green, Justice 
Johnson and Justice Willett joined.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Justice O’Neill filed a concurring opinion.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Justice Willett filed a concurring opinion. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
In an effort to stem frivolous suits against health care providers, the 
Legislature has made a number of changes in the rules of civil litigation. Among 
them has been a requirement since 1995 for early expert reports,[1] and a provision since 2003 for 
interlocutory review of those reports.[2] Since adoption of the latter provision, 
12 of the 14 courts of appeals in Texas have routinely conducted interlocutory 
review of allegedly inadequate reports.[3] But two courts have not — the Second and 
(in this case) the Tenth courts of appeals have held they have no jurisdiction 
of such appeals.[4] 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
We have jurisdiction to determine whether a court of appeals has properly 
declined jurisdiction.[5] Because we agree with the great majority 
that interlocutory review is proper, we reverse.
I. Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Dewayne Funderburk, as next friend of his daughter Whitney Funderburk, 
filed this suit claiming Dr. Rory Lewis was negligent in treating Whitney’s 
broken wrist. When Dr. Lewis moved to dismiss the case for failure to serve an 
expert report, Funderburk pointed to a thank-you-for-your-referral letter in the 
medical records. The letter said nothing about any standard of care, breach, or 
causation. Nevertheless, the trial court refused to dismiss, instead granting a 
30-day extension during which Funderburk served a report by a local osteopath. 
Dr. Lewis again moved to dismiss, and the trial court again denied his motion. 
Dr. Lewis then filed an interlocutory appeal with the Tenth Court of Appeals, 
which dismissed for want of jurisdiction, with one justice dissenting.[6]
II. Interlocutory Review of Inadequate Reports
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Section 74.351 of the Civil Practices and Remedies Code provides that 
within 120 days of filing a claimant must serve a curriculum vitae and one or 
more expert reports regarding every defendant against whom a health care claim 
is asserted.[7] Section 74.351 has numerous subparts, 
including:
&nbsp;
$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
subpart (b) requiring trial courts to dismiss a claim with prejudice and award 
fees if “an expert report has not been served” by the statutory deadline;[8]
&nbsp;
$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
subpart (c) allowing a 30-day extension of the deadline if a report is found 
inadequate; and
&nbsp;
$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
subpart (l) providing that a motion challenging a report’s 
adequacy should be granted only if the report does not represent a good-faith 
effort to comply with the statute.[9]
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Of these and other rulings a trial court might make under section 74.351, 
the Legislature provided for interlocutory review of just two. First, an 
immediate appeal can be taken if a trial court denies relief sought under 
subpart (b).[10] Second, an immediate appeal is allowed 
when a trial court grants relief under subpart (l).[11] The question here is whether the trial 
court’s order falls under (b) or (l) — a jurisdictional question as a 
denial under (b) is immediately appealable but a denial under (l) is 
not.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
We disagree with the Tenth Court of Appeals that Dr. Lewis’s motion, 
which sought dismissal and attorney’s fees, falls under subpart (l). Only 
subpart (b) provides for dismissal and fees. Subpart (l) provides 
for challenges to inadequate reports, but says nothing about dismissal or fees. 
That is because some challenges — specifically those filed within the first 120 
days — cannot seek dismissal or fees until the 120-day window has closed. 
Only when that window has closed and no report has been filed can a defendant 
move for dismissal and fees under subpart (b).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Funderburk argues that because subpart (b) refers to cases in which an 
expert report “has not been served,” it must be limited to cases in which there 
is no report at all. But in section 74.351(c), the Legislature made clear that 
when it used the words “an expert report has not been served,” it meant to 
include cases in which an inadequate report has been served:
&nbsp;
If an 
expert report has not been served within the period specified by 
Subsection (a) because elements of the report are found deficient, the 
court may grant one 30-day extension to the claimant in order to cure the 
deficiency....[12]
&nbsp;
&nbsp;
When a statute 
uses a term with a particular meaning, we are bound by the statutory usage.[13] As subpart (c) defines a timely but 
deficient report as one that “has not been served,” the same meaning must be 
given the same phrase in subpart (b).[14]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
We do not reach the question addressed in the concurring opinions here 
because it is not raised. As stated in his reply brief, “[Dr.] Lewis has made it 
abundantly clear that he is not appealing the trial court’s [initial] order (no 
matter how vehemently he disagrees with it),” but instead is only appealing the 
order denying his second motion to dismiss. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Accordingly, the court of appeals had jurisdiction to consider the 
alleged inadequacy of Funderburk’s report, and erred in concluding that it did 
not.
III. Changing Experts to “Cure Any Deficiency”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Rather than remanding to the court of appeals to consider the merits of 
the osteopath’s report, Dr. Lewis asks us to dismiss this case instead. He 
argues that the 30-day extension in section 74.351(c) allowing a claimant to 
“cure the deficiency” permits only amendments by the original expert rather than 
substitutions by a new one. But in section 74.351(i), the statute provides that 
“a claimant may satisfy any requirement of this section . . . by serving 
reports of separate experts.”[15] Because the statute allows a claimant to 
cure a deficiency, and that requirement like all others may be satisfied by 
serving a report from a separate expert, we agree with Funderburk that the 
statute does not prohibit him from changing experts midstream. 
* 
* *
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Accordingly, we reverse the judgment of the court of appeals and remand 
the case to that court to consider the remaining arguments raised by the 
interlocutory appeal.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
____________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Scott Brister
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
Justice
&nbsp;
OPINION 
DELIVERED: April 11, 2008








[1] 
Act of May 5, 1995, 74th Leg., R.S., ch. 140, § 1, 1995 Tex. Gen. Laws 985, 986 
(amended 2003) (current version at Tex. 
Civ. Prac. &amp; Rem. Code § 74.351(a)).

[2] 
Act of June 2, 2003, 78th Leg., R.S., ch. 204, § 1.03, 2003 Tex. Gen. Laws 847, 
849 (codified as an amendment of Tex. 
Gov’t Code § 51.014(a)). 

[3] 

1st: CHCA Mainland L.P. v. Burkhalter, 227 S.W.3d 
221, 226 (Tex. App.—Houston [1st Dist.] 2007, no 
pet.); McKowen v. Ragston, No. 01-06-00665-CV, 2007 WL 79330, at *1 n.1 
(Tex. App.—Houston [1st Dist.] Jan. 11, 2007, no 
pet.).
3rd: Austin Heart, P.A. v. Webb, 228 S.W.3d 276, 
284–85 (Tex. App.—Austin 2007, no pet.); see also Acad. of Oriental Med., 
L.L.C. v. Andra, 173 S.W.3d 184, 185 (Tex. App.—Austin 2005, no 
pet.).
4th: Fox v. Hinderliter, 222 S.W.3d 154, 156 
(Tex. App.—San Antonio 2006, no pet.); Emeritus Corp. v. Highsmith, 211 
S.W.3d 321, 326 (Tex. App.—San Antonio 2006, pet. denied).
5th: Romero v. Lieberman, 232 S.W.3d 385, 388 
(Tex. App.—Dallas 2007, no pet.); Cayton v. 
Moore, 224 S.W.3d 440, 443–44 (Tex. App.-Dallas 2007, no pet.); HealthSouth Corp. v. 
Searcy, 228 S.W.3d 907, 908 (Tex. App.—Dallas 2007, no pet.).
6th: Thoyakulathu v. Brennan, 192 S.W.3d 849, 851 
n.2 (Tex. App.—Texarkana 2006, no pet.); Longino v. Crosswhite, 183 
S.W.3d 913, 916–18 (Tex. App.-Texarkana 2006, no pet. h.).
7th: Wells v. Ashmore, 202 S.W.3d 465, 467 
(Tex. 
App.—Amarillo 2006, no pet. h.).
8th: Palafox v. Silvey, No. 08-06-00313-CV, 2007 
WL 3225512, at *1 (Tex. App.—El Paso Nov. 1, 2007, no pet. h.); Sides v. 
Guevara, No. 08-06-00213-CV, 2007 WL 2456882, at *2–3 (Tex. App.—El Paso 
Aug. 30, 2007, no pet.); Grindstaff v. Michie, 242 S.W.3d 536, 539 (Tex. 
App.—El Paso Aug. 30, 2007, no pet. h.).
9th: Alexander v. Terrell, No. 09-07-198-CV, 2007 
WL 2683536, at *1 (Tex. App.—Beaumont Sept. 13, 2007, no pet.); Hiner v. 
Gaspard, No. 09-07-240-CV, 2007 WL 2493471, at *3 (Tex. App.—Beaumont Sept. 6, 2007, no pet.).
11th: Foster v. Zavala, 214 S.W.3d 106, 117 (Tex. 
App.—Eastland 2006, pet. filed); Patel v. Harmon, 213 S.W.3d 449, 450 
(Tex. App.—Eastland 2006, no pet.).
12th: Spitzer v. Berry, No. 12–07–00276–CV, 2008 WL 482299, at *1–2 
(Tex. App.—Tyler, Feb. 22, 2008, no pet. h.). 
13th: Haddad v. Marroquin, Nos. 13-07-014-CV, 
13-07-109-CV, 2007 WL 2429183, at *1 (Tex. App.—Corpus Christi Aug. 29, 2007, 
pet. filed); Valley Baptist Med. Ctr. v. Gonzales, No. 13-06-371-CV, 2007 
WL 416536, at *1 (Tex. App.—Corpus Christi Feb. 8, 2007, no pet. h.).
14th: Mem’l Hermann Healthcare Sys. v. Burrell, 
230 S.W.3d 755, 757 (Tex. App.—Houston [14th Dist.] 
2007, no pet.).

[4] 

2nd: Metwest, Inc. v. Rodriguez, No. 2-07-047-CV, 
2007 WL 1018640, at *1 (Tex. App.—Fort Worth Apr. 5, 2007, pet. filed); Jain 
v. Stafford, 214 S.W.3d 94, 97 (Tex. App.—Fort Worth 2006, pet. 
dism’d).
10th: Hill Reg’l Hosp. v. Runnels, No. 
10-06-00372-CV, 2007 WL 765291, at *1 (Tex. App.—Waco March 14, 2007, pet. filed); Lewis v. 
Funderburk, 191 S.W.3d 756, 761.

[5] 
Qwest Commc’ns Corp. v. AT &amp; T Corp., 24 S.W.3d 334, 335-36 
(Tex. 2000); accord, Tex. Dep’t of 
Criminal Justice v. Simons, 140 S.W.3d 338, 343 (Tex. 2004). 

[6] 
191 S.W.3d at 761.

[7] 
Tex. Civ. Prac. &amp; Rem. Code § 
74.351(a). 

[8] 
Id. § 
74.351(b).

[9] 
Id. § 
74.351(l).

[10] Id. § 51.014(a)(9).

[11] Id. § 51.014(a)(10).

[12] Id. § 74.351(c).

[13] Tex. Gov’t Code § 311.011(b) (“Words 
and phrases that have acquired a technical or particular meaning, whether by 
legislative definition or otherwise, shall be construed accordingly.”); Tex. 
Dep’t of Transp. v. Needham, 82 S.W.3d 314, 318 (Tex. 2002).

[14] See Ogletree v. Matthews, ___ S.W.3d 
___, ___ n.2 (Tex. 2007) (noting that this statute “uses 
the phrase ‘has not been served’ to refer both to deficient and absent 
reports”). 

[15] Tex. Civ. Prac. &amp; Rem. Code § 
74.351(i) (emphasis added).